          Case 2:90-cv-00520-KJM-DB Document 2119 Filed 01/25/07 Page 1 of 3




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6                          IN THE UNITED STATES DISTRICT COURTS

7                        FOR THE EASTERN DISTRICT OF CALIFORNIA

8                       AND THE NORTHERN DISTRICT OF CALIFORNIA

9    RALPH COLEMAN, et al.,

10                Plaintiffs,              No. CIV S-90-0520 LKK JFM P (E.D.Cal.)

11         vs.

12   ARNOLD SCHWARZENEGGER,
     et al.,
13
                  Defendants.
14                                     /

15   MARCIANO PLATA, et al.,

16                Plaintiffs,              No. C 01-1351 TEH (N.D.Cal.)

17         vs.

18   ARNOLD SCHWARZENEGGER,
     et al.,
19
                  Defendants.
20                                 /

21   CARLOS PEREZ, et al.,

22                Plaintiffs,              No. C 05-05241 JSW (N.D.Cal.)

23         vs.

24   JAMES TILTON, et al.,                 ORDER

25                Defendants.

26                                 /

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             Case 2:90-cv-00520-KJM-DB Document 2119 Filed 01/25/07 Page 2 of 3




1                   On January 18, 2007, a conference was held the in the above cases to discuss

2    coordination of the remedial processes underway in each case. In addition to the undersigned,

3    participants in the conference were the Honorable John F. Moulds, Special Master J. Michael

4    Keating, Jr., Deputy Special Master Matthew A. Lopes, Receiver Robert Sillen, and Chief

5    Assistant to the Receiver John Hagar.

6                   The parties to each of the above-captioned cases are informed that the special

7    master in Coleman, the receiver in Plata, and, if and when appointed, a representative of the court

8    in Perez will hold monthly meetings for the purpose of working collaboratively on issues related

9    to coordination of the remedies in each of the above-captioned actions.1 The parties to each

10   action will be permitted to submit, in advance of the meetings, proposed agenda items for

11   consideration by the special masters, the receiver and the Perez court representative.2 Attendance

12   of the parties at said meetings will not be required or permitted except at the discretion of the

13   special master, the receiver, and the Perez court representative; nor will the special master, the

14   receiver, or the Perez court representative be required to prepare or file written reports of said

15   meetings. Nothing in this order shall be construed to alter or amend such other reporting

16   requirements as may presently exist or be created by subsequent court order, nor shall anything in

17   this order be construed to alter or amend such rights of the parties in each action as have been or

18   may be established by court orders, the Local Rules of Court, or the Federal Rules of Civil

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                On January 22, 2007, the Court in Perez issued an order notifying the parties in that
     case of its belief that it would be useful to appoint a Court representative to facilitate
22   coordination with the Special Master in the Coleman case and the Receiver in the Plata case.
     Because this issue has not been finalized, all references in this order to a Perez court
23   representative should be understood to refer to such a representative when, and if, a
     representative is appointed.
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               The Coleman parties shall submit proposed agenda items to Special Master Keating or
25   his designee, the Plata parties shall submit proposed agenda items to Receiver Sillen or his
     designee, and the Perez parties shall submit proposed agenda items to the court representative in
26   that action or said representative’s designee.

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           Case 2:90-cv-00520-KJM-DB Document 2119 Filed 01/25/07 Page 3 of 3




1    Procedure, to raise, as appropriate, objections with each court to such reports as may be filed by a

2    special master, receiver or other court representative.

3                   The undersigned will continue to meet on a quarterly basis with the special master

4    in Coleman, the receiver in Plata, and the court representative in Perez to further facilitate the

5    coordination of the remedial process in these cases.

6                   IT IS SO ORDERED.

7    DATED: January 25, 2007.

8
                                                            LAWRENCE K. KARLTON
9                                                           SENIOR JUDGE
                                                            UNITED STATES DISTRICT COURT
10                                                          EASTERN DISTRICT OF CALIFORNIA

11   DATED: January 25, 2007.

12

13                                                           /s/
                                                            THELTON E. HENDERSON
14                                                          UNITED STATES DISTRICT JUDGE
                                                            NORTHERN DISTRICT OF CALIFORNIA
15
     DATED: January 25, 2007.
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18                                                            /s/
                                                            JEFFREY S. WHITE
19                                                          UNITED STATES DISTRICT JUDGE
                                                            NORTHERN DISTRICT OF CALIFORNIA
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